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 6   Attorneys for Defendant
     JOSE LOZANO
 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                        Case No. 1:18-cr-00246 DAD-BAM

12                     Plaintiff,                      EX PARTE APPLICATION FOR ORDER TO
                                                       MODIFY TERMS OF DEFENDANT’S
13    vs.                                              PRETRIAL RELEASES; DECLARATION OF
                                                       ERIC V. KERSTEN; ORDER
14    JOSE LOZANO,

15                     Defendant.                      Hon. Barbara A, McAuliffe

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18          Defendant Jose Lozano, by and through counsel, Assistant Federal Defender Eric V.
19   Kersten, applies Ex Parte to the Court for an unopposed order modifying the terms of his pretrial
20   release. This amended application is based on the attached Declaration of Eric V. Kersten and

21   upon the records on file in the instant action.
22   DATED: October 10, 2019
23                                                     Respectfully submitted,

24                                                     HEATHER E. WILLIAMS
                                                       Federal Defender
25
26                                          By:        /s/ Eric V. Kersten
                                                       ERIC V. KERSTEN
27                                                     Assistant Federal Defender
                                                       Attorneys for Defendant
28                                                     JOSE LOZANO
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 1                                            DECLARATION OF ERIC V. KERSTEN
 2   I, Eric V. Kersten, declare as follows:
 3            1. I am an attorney at law licensed to practice in the State of California and the United
 4   States District Court for the Eastern District of California. I am an Assistant Federal Defender
 5   employed by the Office of the Federal Defender, and I represent Jose Lozano in the above-
 6   referenced case.
 7            2. On November 8, 2018, Mr. Jose Lozano was charged with conspiracy to distribute and
 8   to possess with intent to distribute methamphetamine and heroin; and possession with intent to
 9   distribute methamphetamine and heroin.
10            3. On December 6, 2018, Jose Lozano was ordered released under pretrial supervision
11   with conditions including location monitoring and curfew. (Document 26; December 6, 2018;
12   Order Setting Conditions of Release, condition 7(l).)
13            4. Mr. Lozano is on curtesy supervision in the Central District of California and he has
14   complied with all conditions of his pretrial release since his release from custody on or about
15   December 6, 2018.
16            5. Mr. Lozano is requesting that his conditions of release be modified, and that condition
17   7(l) be removed, as the location monitoring and curfew condition is causing financial hardship
18   by interfering with Mr. Lozano’s ability to work and support his family.
19            6. Mr. Lozano is employed by AMS Construction, and his work schedule varies. Lozano
20   is part of a roofing crew that travels out of the area for multiple days at times while completing
21   roofing Jobs. Because condition 7(l) prevents Lozano from accompanying his crew on these jobs
22   he misses work and the income he would earn on the jobs.
23            7. I have communicated with Matthew S. Carter, Mr. Lozano’s supervising Pretrial
24   Services Officer in the Central District of California; and Renee Basurto, Pretrial Services
25   Officer, and Location Monitoring Specialist, in the Eastern District of California, regarding Mr.
26   Lozano’s request and neither objects to the removal of condition 7(l).
27             8. AUSA Angela Scott has advised me that she discussed this proposed modification
28   with PSO Basurto, and AUSA Scott has advised me that the Government has no objection to the

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      Modify Conditions of Pretrial Release
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 1   request to remove condition 7(l).
 2            9. Therefore, Mr. Lozano respectfully requests that the Court grants his request and
 3   modify his conditions pretrial release by removing condition 7(l). All other conditions of Mr.
 4   Lozano’s pretrial releases shall remain in full force an effect.
 5            Signed under penalty of perjury this 10th day of October, 2019, at Fresno, California.
 6                                                  /s/ Eric V. Kersten
                                                    ERIC V. KERSTEN, Declarant.
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13                                                ORDER
14            IT IS SO ORDERED. Jose Lozano’s conditions of pretrial supervision shall be modified
15   to remove condition 7(l). All other conditions of Mr. Lozano’s pretrial release shall remain in
16   full force and effect.
17
     IT IS SO ORDERED.
18
19       Dated:         October 10, 2019                        /s/ Barbara A. McAuliffe               _
                                                         UNITED STATES MAGISTRATE JUDGE
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      Lozano: Ex Parte Application to                 -3-
      Modify Conditions of Pretrial Release
